      Case 1:03-md-01570-GBD-SN Document 9250 Filed 07/31/23 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 03-MD-01570 (GBD)(SN)
                                              ECF Case



This document relates to:
Kathleen Ashton, et al. v. Al Qaeda Islamic Army, et al., 02-cv-06977
Gladys H. Salvo, et al. v. Al Qaeda Islamic Army, et al., 03-cv-05071
Federal Insurance Co., et al. v. Al Qaida, et al., 03-cv-06978
Thomas E. Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., 03-cv-09849
Estate of John P. O’Neill, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., 04-cv-01923
Continental Casualty Co., et al. v. Al Qaeda, et al., 04-cv-05970
Cantor Fitzgerald & Co., et al. v. Akida Bank Private Ltd., et al., 04-cv-07065
Euro Brokers Inc., et al. v. Al Baraka Inv. & Dev. Corp., et al., 04-cv-07279
Maher, et al. v. Islamic Emirate of Afghanistan a/k/a The Taliban, et al., 1:23-cv-02845



                               DECLARATION OF AISHA BEMBRY


        I, Aisha Bembry, declare and say that the following statements are true as a matter of my

personal knowledge:

        1.       I am a partner at the law firm of Lewis Baach Kaufmann Middlemiss PLLC and a

member in good standing of the District of Columbia Bar and the Maryland Bar and have been admitted

pro hac vice as counsel for defendants Muslim World League and the International Islamic Relief

Organization. I make this declaration in support of the Memorandum of Law in Support of

Defendants’1 Joint Motion to Exclude the Expert Testimony of Evan Kohlmann and Matthew

Levitt in the above-captioned case, filed on July 31, 2023.




1
  “Defendants” means World Assembly of Muslim Youth and World Assembly of Muslim Youth International,
International Islamic Relief Organization, Muslim World League, the four “Charity Officer Defendants” (Abdullah
Omar Naseef, Abdullah bin Saleh al Obaid, Abdullah Mohsen al Turki, and Adnan Basha), and Yassin Kadi.
 Case 1:03-md-01570-GBD-SN Document 9250 Filed 07/31/23 Page 2 of 4




2. Attached hereto are true and correct copies of the following documents:



             Exhibit 1    Catalog of Impermissible Testimony of Plaintiffs’ Experts Evan
                          Kohlmann and Matthew Levitt, with Exhibits A and B attached
                          thereto
             Exhibit 2    Expert Report of Evan Kohlmann dated March 10, 2020
                          Excerpt Trial Testimony from United States v. Paracha, No. 03 CR
             Exhibit 3
                          1197 (S.D.N.Y. Nov. 2, 2005)
                          Excerpt of Regina v. Faqih (Jan. 23, 2007) (Kohlmann Dep. Ex.
             Exhibit 4
                          1006)
             Exhibit 5    Excerpt of Evan Kohlmann Deposition Transcript (Aug. 5-6, 2021)
                          Rebuttal Report of Expert Evan Francois Kohlmann dated February
             Exhibit 6
                          2, 2021
             Exhibit 7    Evan Kohlmann’s CV
                          Excerpt of Hearing Transcript from United States v. Abu Ali, 05 Cr.
             Exhibit 8
                          53 (GBL) (E.D. Va.), (Oct. 28, 2005)
                          Another Saudi 'hijacker' turns up in Tunis (Kohlmann Dep.
             Exhibit 9
                          Ex.1020) .

             Exhibit 10 Excerpt from September 2018 FATF Anti-money laundering and
                        counter-terrorist financing measures (Kohlmann Dep. Ex. 1048)
                        Excerpt of CRA Report: PEC-WAMY031448, PEC-
             Exhibit 11 WAMY031448, PEC-WAMY031455-58. (Kohlmann Dep. Ex.
                        1042)

                        Excerpt of Arab Cohort-Volunteers Cover indicating the publishing
             Exhibit 12 company as House of Learning Printing Press Co.-MR/ARA001079-
                        1083.

                        Excerpt of Daubert Hearing from United States v. Hausa,
             Exhibit 13 No.12CR00134(BMC) (E.D.N.Y February 6, 2017)

                          FrontPageMagazine.com, “Saudis Spread Hate Speech in U.S.”
             Exhibit 14
                          (Sept. 16, 2002 (Kohlmann Dep. Ex. 1034)
                          NY TIME MAGAZINE, “The Lessons of Anwar al-Awlaki” (Aug. 27,
             Exhibit 15
                          2015) (Kohlmann Dep. Ex. 1037)
Case 1:03-md-01570-GBD-SN Document 9250 Filed 07/31/23 Page 3 of 4




                    Human Rights Watch Fact Sheet: Flawed Guantanamo Assessment
         Exhibit 16 File, December 2016

                    Human Rights Watch Issue Brief: Guantanamo Detainee Transfers,
         Exhibit 17 December 2018

         Exhibit 18 JTF-GTMO Risk Matrix for the Charitable Sector
         Exhibit 19 Excerpt of Mammar Ameur’s JTF GTMO Detainee Assessment
                    Unclassified Summary of Evidence for Administrative
         Exhibit 20 Review Board in the Case of Ameur, Mammar July 25, 2005
                    (Kohlmann Dep. Ex. 1043)
                    Excerpt of Unclassified Summary of Evidence for Administrative
         Exhibit 21 Review Board in the Case of Adel Hussein, Hassan, July 28, 2005
                    (Kohlmann Dep. Tr. 1044)
         Exhibit 22 Expert Report of John Barron dated August. 7, 2020
                      Excerpt of Expert Report of Jonathan M. Winer dated March 10,
         Exhibit 23
                      2020
         Exhibit 24 Excerpt of 9/11 Commission Report
                      OFAC Sanction List Search Result for Benevolence International
         Exhibit 25
                      Foundation (Kohlmann Dep. Ex. 1041)
                      February 23, 1993 Letter from WAMY to Adel Batterjee (Winer
         Exhibit 26
                      Dep. Ex. 915)
                      WAMYSA029936 (LBI flyer documents) and WAMYSA057782
         Exhibit 27
                      (BIF flyer documents)
         Exhibit 28 LBI Envelope (Kohlmann Dep. Ex. 1045)
                      May 11, 1993 Letter from WAMY to Prince Abdulaziz (Winer Dep.
         Exhibit 29
                      Ex. 916)
                    Times of India, “WAMY Sets Its Foot in Hyderabad” (Nov. 6,
         Exhibit 30 2001) (Kohlmann Dep. Ex. 1028)


                      Excerpt of Matthew A. Levitt Deposition Transcripts dated April 7-
         Exhibit 31
                      8, 2021
                      Invoices for Services Provided by Matthew Levitt dated November
         Exhibit 32
                      2003 (Levitt Dep. Ex. 2002)
                      Memorandum from Matthew A. Levitt to Barbara Hammerle
         Exhibit 33
                      (Levitt Dep. Ex. 2003)
         Exhibit 34 Expert Report of Matthew A. Levitt dated March 9, 2020
    Case 1:03-md-01570-GBD-SN Document 9250 Filed 07/31/23 Page 4 of 4




                          June 28, 2019 Subpoena Matthew A. Levitt to Testify at Deposition
               Exhibit 35 in a Civil Action, In re Terrorist Attacks on September 11, 2001, 03
                          MDL 1570 (GBD) (SN) (S.D.N.Y.)
                            August 16, 2019 Letter from Paul Ahern, Dept. of Treasury
               Exhibit 36
                            Response to Sean O’Connor and Robert Haefele
                            Excerpt from Jimmy Gurule Deposition Transcript dated July 7,
               Exhibit 37
                            2021
                            Expert Rebuttal Report of Dr. Matthew Levitt dated January 18,
               Exhibit 38
                            2021
               Exhibit 39 Expert Report of Jimmy Gurule dated February 1, 2021
               Exhibit 40 Matthew A. Levitt’s CV (Attachment A to Expert Report)
                          Unclassified Summary of Evidence for Administrative
               Exhibit 41 Review Board in the Case of Qahtani, Said Muhammad
                          Husayn

                            Complaint filed in Sana-Bell, Inc. v. BMI Real Estate, et al., No
               Exhibit 42
                            8:98-cv-04177 (PJM) (D. Md. December. 23, 1998)
                          Plaintiffs Proposed Findings of Fact and Conclusion of Laws filed
               Exhibit 43 in Sana-Bell, Inc. v. BMI Real Estate, et al., No 8:98-cv-04177
                          (PJM) (D. Md. December. 23, 1998)




Dated: July 31, 2023                           /s/ Aisha E. R. Bembry

                                               Aisha E. R. Bembry (admitted pro hac vice)
